      Case 2:17-cr-00565 Document 49 Filed on 10/20/20 in TXSD Page 1 of 6
                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                             UNITED STATES DISTRICT COURT                                October 20, 2020
                              SOUTHERN DISTRICT OF TEXAS                                David J. Bradley, Clerk
                                CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                        §
 Plaintiff,                                      §
                                                 §
       v.                                        §           CRIMINAL NO. 2:17-565-1
                                                 §
CYNTHIA MARIE JOSEY,                             §
 Defendant.                                      §

                             MEMORANDUM OPINION & ORDER

       Pending before the Court is Defendant Cynthia Marie Josey’s Motion to Reconsider

Denial of Motion to Reduce Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) (D.E. 44), to

which the United States of America (the “Government”) has responded (D.E. 46) and Defendant

has replied (D.E. 47, 48).

I. BACKGROUND

       In 2017, Defendant pled guilty to conspiracy to possess with intent to distribute 56.82

kilograms of methamphetamine. She has served roughly 38 months (40%) of her 96-month

sentence and has a projected release date, after good time credit, of June 7, 2024.

       Defendant previously filed a pro se motion to reduce her sentence and order her release

to home confinement because she suffers from numerous medical ailments and fears contracting

COVID-19 while in prison. D.E. 39. By written Memorandum Opinion & Order entered July 20,

2020, the Court denied Defendant’s motion because: (1) she failed to offer evidence of any

underlying medical condition that would make her particularly vulnerable to severe illness or

death should she contract COVID-19, and (2) the Court was without sufficient information

regarding Defendant’s disciplinary history while in prison. D.E. 42.




                                                 1
      Case 2:17-cr-00565 Document 49 Filed on 10/20/20 in TXSD Page 2 of 6




        Defendant is now represented by counsel and again moves the Court to reduce her

sentence to time served with a condition of home confinement at the outset of her term of

supervised release due to her “serious medical issues” and “unique susceptibility to contracting

the fatal disease [COVID-19] while housed in a crowded facility with limited ability to take

necessary self-protective measures.” D.E. 44, p. 1. Counsel submitted an administrative request

for compassionate release on Defendant’s behalf on August 31, 2020, but the warden at FMC

Carswell denied the request.

        The Government opposes compassionate release on the grounds that: (1) Defendant’s

COVID-19 concerns do not constitute extraordinary and compelling circumstances; (2) she has

failed to show that the Bureau of Prisons is incapable of managing the pandemic; and (3) she is a

public safety risk if released.

II. LEGAL STANDARD

        The statute, 18 U.S.C. § 3582(c)(1)(A), authorizes a court to reduce a defendant’s

sentence under limited circumstances:

        (c) Modification of an Imposed Term of Imprisonment.—The court may not
        modify a term of imprisonment once it has been imposed except that—
            (1) in any case—
                (A) the court, upon motion of the Director of the Bureau of Prisons, or
                upon motion of the defendant after the defendant has fully exhausted all
                administrative rights to appeal a failure of the Bureau of Prisons to bring a
                motion on the defendant’s behalf or the lapse of 30 days from the receipt
                of such a request by the warden of the defendant’s facility, whichever is
                earlier, may reduce the term of imprisonment (and may impose a term of
                probation or supervised release with or without conditions that does not
                exceed the unserved portion of the original term of imprisonment), after
                considering the factors set forth in section 3553(a) to the extent that they
                are applicable, if it finds that—
                     (i) extraordinary and compelling reasons warrant such a reduction . .
                     . and that such a reduction is consistent with applicable policy
                     statements issued by the Sentencing Commission.

18 U.S.C. § 3582(c)(1)(A)(i) (emphasis added).




                                                 2
      Case 2:17-cr-00565 Document 49 Filed on 10/20/20 in TXSD Page 3 of 6




       The applicable United States Sentencing Commission policy statement provides that

extraordinary and compelling reasons for early release exist where:

       (A) Medical Condition of the Defendant.—

            (i) The defendant is suffering from a terminal illness (i.e., a serious and
            advanced illness with an end of life trajectory). A specific prognosis of life
            expectancy (i.e., a probability of death within a specific time period) is not
            required. Examples include metastatic solid-tumor cancer, amyotrophic
            lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.

            (ii) The defendant is—

              (I) suffering from a serious physical or medical condition,
              (II) suffering from a serious functional or cognitive impairment, or
              (III) experiencing deteriorating physical or mental health because of the
              aging process,

              that substantially diminishes the ability of the defendant to provide self-
              care within the environment of a correctional facility and from which he or
              she is not expected to recover.

       (B) Age of the Defendant. –

            The defendant is (i) at least 65 years old; (ii) is experiencing a serious
            deterioration in physical or mental health because of the aging process; and
            (iii) has served at least 10 years or 75 percent of his or her term of
            imprisonment, whichever is less;

       (C) Family Circumstances. –

           (i) The death or incapacitation of the caregiver of the defendant’s minor
           child or minor children.

           (ii) The incapacitation of the defendant’s spouse or registered partner
           when the defendant would be the only available caregiver for the spouse
           or registered partner.

       (D) Other Reasons. –

            As determined by the Director of the Bureau of Prisons, there exists in the
            defendant’s case an extraordinary or compelling reason other than, or in
            combination with, the reasons described in subdivisions (A) through (C).

U.S.S.G. § 1B1.13(1)(A), Application Note 1.



                                                3
      Case 2:17-cr-00565 Document 49 Filed on 10/20/20 in TXSD Page 4 of 6




       Even if “extraordinary and compelling reasons” for early release exist, the Guidelines’

policy statements provide for a reduction in sentence only if a defendant “is not a danger to the

safety of any other person or the community, as provided in 18 U.S.C. §3142(g).” U.S.S.G. §

1B1.13(2). Factors relevant to this inquiry include: (1) the nature and circumstances of the

offenses of conviction, including whether the offense is a crime of violence, or involves a minor

victim, a controlled substance, or a firearm, explosive, or destructive device; (2) the weight of

the evidence; (3) the defendant’s history and characteristics; and (4) the nature and seriousness of

the danger to any person or the community that would be posed by the defendant’s release. See

18 U.S.C. § 3142(g).

       The Court must also consider whether a reduction is consistent with the applicable

section 3553(a) factors. See 18 U.S.C. § 3582(c)(1)(A); U.S.S.G. § 1B1.13. The applicable

statutory factors include, among others: the defendant’s history and characteristics; the nature

and circumstances of the offense; the need for the sentence to reflect the seriousness of the

offense, promote respect for the law, and provide just punishment for the offense; the need to

deter criminal conduct and protect the public from further crimes of the defendant; the need to

provide the defendant with, among other things, any needed medical treatment; and the various

kinds of sentences available. See 18 U.S.C. §§ 3553(a)(1)-(7).

       With respect to motions for compassionate release based on COVID-19:

       A review of a motion for release based on COVID-19 is highly fact-intensive and
       dependent on the specific conditions of confinement and medical circumstances
       faced by the defendant. Hence, a prisoner cannot satisfy his burden of proof by
       simply citing to nationwide COVID-19 statistics, asserting generalized statements
       on conditions of confinement within the BOP, or making sweeping allegations
       about a prison’s ability or lack thereof to contain an outbreak. . . . [T]he rampant
       spread of the coronavirus and the conditions of confinement in jail, alone, are not
       sufficient grounds to justify a finding of extraordinary and compelling
       circumstances. Rather, those circumstances are applicable to all inmates who are
       currently imprisoned and hence are not unique to any one person.



                                                 4
      Case 2:17-cr-00565 Document 49 Filed on 10/20/20 in TXSD Page 5 of 6




United States v. Koons, 2020 WL 1940570, at *4 & n.8 (W.D. La. Apr. 21, 2020) (citing

United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020)).

         “In general, the defendant has the burden to show circumstances meeting the test for

compassionate release.” United States v. Stowe, 2019 WL 4673725, at *2 (S.D. Tex. Sept. 25,

2019).

III. ANALYSIS

         Defendant is 50 years old. She is obese and suffers from hyperlipidemia, hypothyroidism,

sleep apnea, and severe joint pain. She also has a history of phobic anxiety disorder, post-

traumatic stress disorder, and depression. According to Defendant, the combined effects of these

conditions heighten her risk of severe illness or death if she contracts COVID-19, which is more

likely in a prison setting due to her inability to practice social distancing and other protective

measures. Defendant also emphasizes that she has “taken nearly every class available to her” and

“has had no disciplinary infractions during her time at BOP.” D.E. 44, p. 15.

         While the Court is permitted to consider post-sentencing rehabilitation in determining

whether to grant an eligible defendant a sentence reduction, it is not authorized to grant a

reduction based upon post-sentencing rehabilitation alone. See U.S.S.G. § 1B1.10, app.

n.1(B)(iii). Of the numerous medical conditions cited by Defendant, only obesity has been

identified by the Centers for Disease Control and Prevention as causing an increased risk of

severe illness from COVID-19. People with Certain Medical Conditions, CDC (Sept. 11, 2020),

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

conditions.html. While this increased risk to Defendant’s health could constitute an extraordinary

and compelling circumstance, the Court nonetheless finds that the § 3553(a) factors, as

considered in the specific context of the facts of her case, do not warrant early release.




                                                  5
      Case 2:17-cr-00565 Document 49 Filed on 10/20/20 in TXSD Page 6 of 6




       In the instant offense, Defendant and her co-defendant attempted to import 56.82

kilograms of methamphetamine, which was suspended in liquid inside of a gas tank, from

Mexico into the United States. Defendant underscores that she qualified for safety valve based

on her minimal scored criminal history—a single conviction for theft of property. However, her

unscored criminal history detailed in the Presentence Investigation Report (D.E. 25) included

convictions for assault bodily injury – family violence, disorderly conduct, and driving while

intoxicated. Defendant has been arrested a total of six times for assault bodily injury – family

violence, resulting in injuries to two different victims on more than one occasion. At the time of

sentencing in this case, she also had state charges pending for theft and possession of a

controlled substance. Finally, her Inmate Discipline Data sheet reflects that she was recently

sanctioned for interfering with taking count. D.E. 46-1. On this record, the Court finds that

releasing Defendant five years early, when she has served less than half of her sentence, would

not reflect the seriousness of the offense, promote respect for the law, or provide just punishment

for the offense, nor would it deter criminal conduct or protect the public from further crimes.

IV. CONCLUSION

       For the foregoing reasons, Defendant’s Motion to Reconsider Denial of Motion to

Reduce Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) (D.E. 44) is DENIED. Her motion to

vacate the Court’s previous order denying compassionate release (D.E. 43) is further DENIED

as MOOT.

     It is so ORDERED this 20th day of October, 2020.




                                              ____________________________________
                                                         JOHN D. RAINEY
                                                   SENIOR U.S. DISTRICT JUDGE




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